                                REPEAL AT-LARGE ELECTION
                                                                                   FILED
                             AMENDED COMPLAINT - RULE 15
                                                                                 fEB 1 0 2021
                                  CASE NO. 4:20-CV-230-FL

                                     FEBRUARY 10, 2021



1. Plaintiff alleges that elected officials chosen by the voters of the state as a whole rather
   than from separate congressional or legislative districts according to law; and election
   at-large is an election in which a public official is selected from a major election district
   rather than a minor sub-division within the larger unit.

2. Yet, the defendants, herein, "have acted, through the many years, with ferocious spotty
   results," and have allegedly acted in conspiracy, while acting under color of law, where
   said acts were willfully, wrongfully enforced, where the at-large election [effort]
   methods and vote dilution as to deprive the plaintiff, minorities, people of color, and all
   others similarly situated of their pre-existing rights as to Equal Protection and Due
   Process Clauses, and vote dilution [where no preferred minority candidate of choice has
   never. ever been elected or appointed to the Trenton Town Council as Aldermen], and
   where the Town Council, now being enforced by the at-large [effort] method of election
   now being held in the Town of Trenton, County Seat of Jones County, and where the
   prevention and redress of wrongs were enacted or being maintained with a racially
   discriminatory purpose.


3. Here, the at-large election [report] is made to the Board of Elections [of the number of
   votes cast for each candidate], with the duty of counting or tallying the votes for
   "Whites," and against "minorities" [who no longer participate in the at-large elections],
   suffers not a recall as to intent shown. Once more and again plaintiff alleges that
   election at-large as enforced in Trenton] is an election in which a public official is
   selected [by Whites] from an election in which a public official is selected [by Whites]
   from a major election district rather than a "minority" from a minor sub-division within
   the larger unit, based on race, color, and national servitude. Further, it is alleged that
   the Fifteenth [15 th ] Amendment prohibits willful, purposeful discrimination in voting [at-
   large elections] at all levels of the political process by federal, state, and local officials of
   the Town of Trenton, on the basis of race, color, or previous conditions of servitude.


4. Plaintiff alleges that the consequence of the lack of enforcement of the Fifteenth [15 th ]
   Amendment, predictably, the consequence was the disfranchisement of African-
   Americans, people of color, minorities, and all others similarly situated, that is, parties in
   the past, present, and future were deprived of the right to vote for their preferred



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   candidate of choice, in the Town of Trenton [county seat], Jones County, North Carolina,
   and be elected or appointed to the Town Council, from its original beginning, "unto this
   very day."


5. After many, many years of willfully, willful despiteful intimidation and violence by
   Whites, African-Americans registered and voted in substantial numbers in states where
   the plaintiffs [minorities and people of color], had formerly been denied the ballot
   because of ordinances, for example [See Exhibit# 000 appended previously and hereto].
   It's favorite way of excluding African-Americans, etc., from voting [and causing fear],
   adopted by the Town of Trenton, and by any and all southern states, herein, "was the
   literacy test." The test required a person to read and write a portion of the Constitution
   as a condition for registering. The literacy test was racially neutral on its face, but it was
   administered in a way that excluded African-Americans, etc., but not Whites, from
   voting.


6. Plaintiff alleges that in the history of Trenton, and its original beginning, there has never,
   ever been an African-American, person of color, elected or appointed to the Trenton
   Town Council; nor do African-Americans, people of color have never, ever seen a
   sidewalk, curb, gutter or storm drainage in their communities, and/or, neighborhoods,
   or have been completely annexed to the town, nor, can they "tie-in and use the [new]
   2017 Sewage Plant, based on race, color and national servitude.


7. And of course plaintiff alleges that he - as to Summary Judgment, has never, ever filed
   a frivolous or malicious law suit. The District Court used said term "to add color to its
   phrase," which was false, and in a negligent, careless, and heedless manner [See,
   Exhibits 1 and lA in appended hereto]. The federal government prohibited interference
   with voting in federal elections. It authorized the Attorney General [the chief law officer
   of the U.S.], to bring lawsuits to protect voting rights, and set out procedures for
   holding in criminal contempt, or punishing, those who disobey[ed] court orders ending
   the at-large election [method] discrimination by making them pay, fined, and/or,
   sentencing them to jail, where the at-large election is still being enforced by the
   defendants, herein, instead of 42 U S CA Section 10301.


8. Plaintiff further alleges that some of the reconstruction voting laws did survive; a statute
   protecting the right to vote without regard to race or color, and the two [2] laws making
   those who interfere[d] with protected rights for example, the right to vote, and/or, elect
   their preferred candidates of choice, liable for money damages in civil, or private,
   lawsuits brought by the party of discrimination, and two [2] statutes imposing criminal
   penalties [imprisonment or fines] on persons who hinder[ed] others in their attempts to
   vote for their preferred candidate[s] of choice. Even those surviving laws are limited in




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    their scope and until recently, were infrequently used. Some laws were used to prevent
    election fraud[s] but were rarely used to protect against racial discrimination in the at-
    large election method now being enforced in the exercise of the right to vote. Other
    laws were used in banning, any and all, White Primaries but seldom to attack, if any,
    other forms of discrimination in voting in an at-large election method.


9. Plaintiff respectfully prays upon the court to grant the plaintiff such further relief as
   maybe appropriate[d] under color of law, in order to form a more perfect union, while
   in their official capacities, is conferred by 28 U SC Section 1331 {a) and 1343 (3) and (4),
   42 USC Section 1983 (1982) et seq. 42 USC Section 1985 (2) {3) (1982), 42 USC
   Section 2000d, and its implementing regulation[s], at 34 C.F.R. Part 100, affords plaintiff
   the vehicle to redress violations of constitutional rights, in this Case [4:20-CV-230FL], as
   previously complained where a violation of the Fifth [5 th ] Thirteenth [13 th ], Fourteenth
   [14th ] and Fifteenth [15 th ] Amendments to the United States Constitution, and all other
   constitutional provisions, where such rights have been violated by "public elected
   officials," acting in their official capacities under "color of law." Title VI of the Civil
   Rights Act of 1964 and 1991, as amended, Fed R Civ P Rule 17 (b) (1), where plaintiff
   institutionalized this said action previously, and as to pain and suffering which is hidden.
   The weight of voting for their preferred candidate[s] of choice as to at-large election[s],
   and where plaintiff's need is the greatest power, degree, or effort [vindictive and
   imputed trial that reflect[s] the priority of the people], and is short on attention and
   long on amnesia.

10. Wherefore, the hereinabove and hereinafter reasons plaintiff prays upon the court to
    dismiss defendants request for dismissal of said action, and this case is where racial
    [lawlessness] discrimination would, could, and should retire, and which prohibits official
    discrimination, statutes, implementing the Thirteen [13 th ], Fourteenth [14th ], and
    Fifteenth [15 th ] Amendments and imposing civil penalties upon those who interfere with
    access and use of past, present, and future public accommodations.


11. Here, the problem of "excluding" African-Americans, et. al., in question, be entirely
    addressed, by the District Court, who has failed and refused to recognize Case# 4:10-
    MC-l, 4:10-MC-2, and 4:10-MC-4 [and others] from 1995 - 2020, to no avail, where the
    denial of voting is where the problem of the twenty first [21 st] century is the "color line."


12. At - the time the challenged districting plan, and the removable of the at-large
    [method] elections were never, ever enacted where following circumstances affected
    the plan's effect upon voting strength and the removable of the at-large [method]
    election[s] associated with African-Americans, et. al., adjacent and in the Town of
    Trenton [the plaintiff's class], and particularly those in the areas of the challenged
    districts. These govern proceedings under the judicial conduct and Disability [Act] Act,



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   28 U.S.C. Sections 351- 364. to determine whether a covered [Judge Malcolm Jones
   Howard] judge has engaged in conduct prejudicial to the effective and expeditious
   administration of the business of the courts from 1995 - 2020. without a single case
   being heard by a judge, and/or. jury, after filing said complaints against the defendants
   and local dignitaries to the courts or is unable to discharge the duties of office because
   of mental or physical disability.


13. Here. the covered Judge [Malcolm Jones Howard]. a covered judge is defined under the
    act and is limited to judges of the United States Court of Appeals. Judges of United
    States District Courts, Judges of United States Bankruptcy Courts, United States
    Magistrate Judges, and Judges of the courts. specified in 28 U.S.C. Section 363, where
    plaintiff has filed these said complaints, many, many times, "to no avail." With regard to
    all complaints and petitions filed for review, Rule 27 [C] grants the petitioner
    unrestricted authority to withdraw the petitions. It is thought that the plaintiff's
    interest in the proceeding[s] have been a decision by the Chief Judge and often by the
    judicial council as well in such a case[s], and where the plaintiff prays upon the court to
    keep its focus on the outlawed, discontinued at-large [method] of elections, now being
    enforced by the defendants.


14. Plaintiff alleges that other voting procedures that lessen the opportunity of African-
    American Voters to elect their preferred candidates of choice, to the Trenton Town
    Council, in addition to the numbered seat requirement and the anti-single shot
    provisions of state law [at-large elections] held in Trenton [Jones County- County Seat]
    were declared constitutional from the beginning unto this present moment, the
    defendants have, since 1915, had a majority vote requirement which applies to all
    primary elections, but not the general elections. N.C.G.S. Section 163 - 111. This
    generally adverse effect on any cohesive voting minority [African-Americans] is of
    course, enhanced for racial minority groups if, as pro se litigant found to be the fact in
    these cases, where racial polarization in voting patterns also exists.


15. While no African-American [minority] candidate for election. in the at-large [method]
    election to the North Carolina General Assembly- either in the challenged districts or
    else where - has so far lost [or failed to win} an election, simply and solely, because of
    the majority vote requirement, the requirement nevertheless exists as a continuing
    practical impediment to the opportunity of African-American voting minorities in the
    challenged districts to elect their preferred candidates of their choice.


16. Further, plaintiff alleges that however. Section 2 claimants are not required to
    demonstrate by direct evidence a causal nexus between their relatively depressed socio
    - economic status and a lessing of their opportunity to participate effectively in the




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   political process. See, S. Rep No. 97 - 417. Supra Note 10. at n. 114, under incorporated
   White v Regester jurisprudence, "[i]nequality of access is an inference which flows from
   the existence of economic and educational inequalities." See, Kirksey v Board of
   Supervisors, 554 F 2d 139, 145, [5 th Cir.], cert denied, 434 U S 968, 98 S Ct 512, 54 L Ed
   2d 454 (1977). Independently of any such general presumption incorporated in
   amended Section 2, pro se litigant could, should, and would readily draw the inference
   from the evidence in these cases.


17. The use of racial appeals in political campaigns is from the reconstruction era to the
    present time, appeals to racial prejudice against African-American Citizens have been
    effectively used by persons, defendants, either candidates or their supporters, as a
    means of influencing voters in, and adjacent to the Town of Trenton in political
    campaigns. The appeals have been overt and blatant at some times, more subtle and
    furtive at others. They have tended to be most overt and blatant in these periods when
    African-Americans were openly asserting political and Civil Rights - during the
    Reconstruction Fusion Era and during the era of the major Civil Rights Movements in the
    1950's and 1960's. during the period from ca. 1900 to ca. 1948 when African-American
    Citizens of the town and adjacent areas were generally fuiescent under de jure
    segregation and when there were few African-American Voters and no African-
    American elected, and/or, appointed as officials, racial appeals in political campaigning
    were, simply and solely, not relevant and accordingly were not used, with the early
    stirrings of what became the Civil Rights Movement in the campaigns of the Town of
    Trenton, North Carolina, candidates. Though by and large less gross and virulent than
    were those of the outright White Supremacy Campaigns of 50 years earlier, time:

                                          CONCLUSION

   WHEREFORE, prose litigant alleges that "he is therefore entitled ...... to have the
   credibility of his evidence as forecast assumed, his version of all that is in dispute
   accepted, all internal conflicts in it resolved favorably to him, the most favorable of
   possible alternative inferences from it drawn in his behalf, and finally to be given the
   benefit of all favorable legal theories invoked by evidence so considered." Plaintiff will
   not struggle to find witnesses to support his case.

   Respectfully submitted,



   mWillis
   Pro Se Litigant




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